                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between June 4, 2022 and July 03, 2022. Below is a summary report that identifies the uptime for each
day within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. William Colby Cox and Laura Kay Sawyer

Court Case No:              21-CR-356-CVE
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   06/04/2022                      23.9                          Verified
         2                   06/05/2022                      23.9                          Verified
         3                   06/06/2022                      23.9                          Verified
         4                   06/07/2022                      23.9                          Verified
         5                   06/08/2022                      23.9                          Verified
         6                   06/09/2022                      23.9                          Verified
         7                   06/10/2022                      23.9                          Verified
         8                   06/11/2022                      23.8                          Verified
         9                   06/12/2022                      23.9                          Verified
        10                   06/13/2022                      23.9                          Verified
        11                   06/14/2022                      23.9                          Verified
        12                   06/15/2022                      23.9                          Verified
        13                   06/16/2022                      23.9                          Verified
        14                   06/17/2022                      23.9                          Verified
        15                   06/18/2022                      23.9                          Verified
        16                   06/19/2022                      23.9                          Verified
        17                   06/20/2022                      23.9                          Verified
        18                   06/21/2022                      23.9                          Verified
        19                   06/22/2022                      23.9                          Verified
        20                   06/23/2022                      23.9                          Verified
        21                   06/24/2022                      23.9                          Verified
        22                   06/25/2022                      23.9                          Verified
        23                   06/26/2022                      23.9                          Verified
        24                   06/27/2022                      23.9                          Verified
        25                   06/28/2022                      23.9                          Verified
        26                   06/29/2022                      23.9                          Verified
        27                   06/30/2022                      23.8                          Verified
        28                   07/01/2022                      23.9                          Verified
        29                   07/02/2022                      23.8                          Verified
        30                   07/03/2022                      24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




                                                                                              Exhibit "C"
